     Case 2:22-cv-02041-GMS Document 106 Filed 06/30/23 Page 1 of 5




 1 Benjamin L. Rundall (No. 031661)       Jared G. Keenan (No. 027068)
   Joshua M. Spears (No. 034159)          Christine K. Wee (No. 028535)
 2 ZWILLINGER WULKAN PLC                  AMERICAN CIVIL LIBERTIES
   2020 North Central Avenue, Suite 675   UNION FOUNDATION OF ARIZONA
 3 Phoenix, Arizona 85004                 3707 N. 7th St., Suite 235
   Tel: (602) 609-3800                    Phoenix, Arizona 85014
 4 Fax: (602) 609-3800                    Tel: (602) 650-1854
   Direct: (602) 962-2969                 Email: jkeenan@aclu.org
 5 Email: ben.rundall@zwfirm.com                  cwee@aclu.org
            joshua.spears@zwfirm.com
 6
   Leah Watson, admitted pro hac vice
 7 Scout Katovich, admitted pro hac vice
   AMERICAN CIVIL LIBERTIES
 8 UNION FOUNDATION
   125 Broad Street, 18th Floor
 9 New York, NY 10004
   Tel: (212) 549-2500
10 Email: lwatson@aclu.org
            skatovich@aclu.org
11 Attorneys for Plaintiffs
12
                      IN THE UNITED STATES DISTRICT COURT
13
                            FOR THE DISTRICT OF ARIZONA
14
    Fund for Empowerment, et al.                Case No.: 2:22-cv-02041-GMS
15
                         Plaintiffs,
16                                              PLAINTIFFS’ REPLY IN
    v.                                          SUPPORT OF THEIR MOTION
17                                              TO EXCEED PAGE LIMIT FOR
    City of Phoenix, et al.                     RESPONSE TO INTERVENORS’
18                                              MOTION TO DISMISS
                        Defendants.
19
20
21 I.      INTRODUCTION
22         Plaintiffs’ motion to exceed page limits should be granted because good cause
23 exists to grant their motion, the additional pages needed to fully respond to Defendant
24 Intervenors’ Motion to Dismiss/Request for Abstention was minimal, and because
25 Defendant Intervenors have not been harmed and will not suffer any prejudice as a result
26 of Plaintiffs’ request to exceed the page limits.
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         Case 2:22-cv-02041-GMS Document 106 Filed 06/30/23 Page 2 of 5




 1 II.       ARGUMENT
 2           Good cause exists to grant Plaintiff’s motion because Defendant Intervenors’
 3 Motion to Dismiss not only raised Fed. R. Civ. P. 12(b)(6) and 12(b)(1) arguments, but
 4 also bootstrapped arguments concerning three separate abstention doctrines: Colorado
 5 River abstention, Pullman abstention and the Younger abstention. Each of the abstention
 6 doctrines contains multiple factors for consideration, which are difficult to adequately
 7 address in a 17-page motion, let alone a motion that requires a party to also respond to
 8 dismissal arguments in connection to each of their claims.1 See Campion v. Credit Bureau
 9 Servs., Inc., 206 F.R.D. 663, 670 (E.D. Wash. 2001) (granting Plaintiffs’ request for
10 “leave to file an over-length brief replying to their class certification motion . . . because
11 of the complex nature of the issues involved in the motion”).
12           And while Defendant Intervenors boast of their ability to make such arguments
13 within the page limits, Defendant Intervenors ignore that their arguments in each section
14 were asserted largely without reference (or in direct contravention) to the vast record in
15 this case, including the Court’s preliminary injunction order and the numerous
16 declarations and exhibits filed in support of that motion.2 As a result, Plaintiffs were
17 required to rebut not only unsupported legal arguments, but also misstatements about the
18 case with the actual claims, allegations, and statements made by Plaintiffs in their
19 Complaint and Declarations. Intervenors’ motion also made bald assertions about the
20 unsheltered community that are demonstrably false and required correction. So, Plaintiffs
21 were unable to respond to these arguments without exceeding the page limits.
22           Importantly, “District Courts have broad discretion in interpreting and applying
23 their local rules.” Andrich v. Navient Sols. Inc., No. CV-18-02766, 2020 WL 1515664, at
24
     This included Plaintiffs’ analysis of the eight-factor Colorado River abstention test, the
     1
25
   three prongs to the Pullman abstention doctrine and the four-factor test under Younger.
26 2 Defendant Intervenors were permissively allowed to enter this case after Plaintiffs had
   already filed an amended complaint and prevailed on a motion for preliminary injunction
27 (which included declarations from Plaintiffs supporting the reasons they were highly
28 likely to prevail on the motion.)

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     Case 2:22-cv-02041-GMS Document 106 Filed 06/30/23 Page 3 of 5




 1 *3 (D. Ariz. 2020) (quoting Simmons v. Navajo County, 609 F.3d 1011, 1017 (9th Cir.
 2 2010)). Where good cause exists, a motion to exceed page limits should be granted absent
 3 demonstrated harm or prejudice to the other party. See Id. at n.7 (explaining that a party’s
 4 “page limit violation poses no risk of prejudice to [the opposing party] and does not
 5 detract from judicial economy. Indeed, the Court would have granted a request for a page-
 6 limit extension from either party.”). For example, while the Defendants in Andrich
 7 exceeded the 17-page limit in their Motion to Dismiss, the Court accepted the Motion
 8 “given the de minimus nature of the violation and drastic nature of striking the motion.”
 9 Id.
10         Here, Plaintiffs have demonstrated good cause and Defendant Intervenors have
11 provided no explanation of the harm or prejudice that they suffered or will suffer as a
12 result of Plaintiffs’ request to minimally exceed the page-limit. Likewise, Defendant
13 Intervenors fail to raise any response countering Plaintiffs’ position that good cause exists
14 for the Court to grant their Motion to Exceed the Page Limit. See Benson v. Energy
15 Solutions, Inc., 2014 WL 2773781, at *2 (D. Arizona 2014) (rejecting a motion to strike
16 where a party did not articulate how they were prejudiced by claims in a motion).
17         Given the myriad legal and factual issues Plaintiffs had to address in their Lodged
18 Opposition and the fact that Defendant Intervenors will not be harmed by Plaintiffs’
19 request, Plaintiffs have demonstrated good cause for extending the page limit. Plaintiffs
20 will also be prejudiced if their Motion to Exceed Page Limit is denied because they will
21 be unable to adequately respond to the claims against them. This prejudice is significant
22 because Defendant Intervenors’ motion is a dispositive one. Moreover, denial of
23 Plaintiffs’ request will only further delay resolution of this motion and Plaintiffs’ ability
24 to move forward expeditiously with prosecution of their claims.
25 III.    CONCLUSION
26         For the foregoing reasons, Plaintiffs respectfully request that Plaintiffs’ Motion to
27 Exceed Page Limit for Response to Intervenors’ Motion to Dismiss be granted.
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     Case 2:22-cv-02041-GMS Document 106 Filed 06/30/23 Page 4 of 5




 1       RESPECTFULLY SUBMITTED this 30th day of June, 2023.
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                                             ZWILLINGER WULKAN PLC
 3
 4                                     By:   /s/ Benjamin L. Rundall
 5                                           Benjamin L. Rundall
                                             2020 North Central Avenue, Suite 675
 6                                           Phoenix, Arizona 85004

 7                                           AMERICAN CIVIL LIBERTIES
 8                                           UNION OF ARIZONA

 9                                     By: /s/ Jared G. Keenan (with permission)
                                           Jared G. Keenan
10                                         Christine K. Wee
                                           3703 N. 7th St., Suite 235
11                                         Phoenix, Arizona 85014
12
13                                           AMERICAN CIVIL LIBERTIES
                                             UNION FOUNDATION
14                                     By: /s/ Leah Watson (with permission)
15                                         Leah Watson, pro hac vice
                                           Scout Katovich, pro hac vice
16                                         125 Broad Street, 18th Floor
17                                         New York, New York 10004
                                             Attorneys for Plaintiffs
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                               CERTIFICATE OF SERVICE
 1
 2        I hereby certify that on June 30 2023, I electronically filed the foregoing with the
 3 Clerk of the Court for the U.S. District Court for the District of Arizona by using the
 4 CM/ECF System. All participants in the case who are registered CM/ECF user will be
 5 served by the CM/ECF system.
 6
 7   /s/ Averyanna James
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